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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 PERKINS COIE LLP,

               Plaintiff,

        v.                                             Civil Action No. 25-0716 (BAH)

 U.S. DEPARTMENT OF JUSTICE, et al.,

               Defendants.


                               NOTICE OF WITHDRAWAL

       Defendants request that the Clerk of the Court please remove the appearance of Assistant

United States Attorney Douglas C. Dreier as counsel for Defendants in the above-captioned case.

       Deputy Associate Attorney General Richard Lawson continues to serve as lead counsel for

Defendants.

 Dated: March 18, 2025                     Respectfully submitted,
        Washington, DC
                                           EDWARD R. MARTIN, JR., D.C. Bar #481866
                                           United States Attorney


                                           By:           /s/ Douglas C. Dreier
                                                 DOUGLAS C. DREIER, D.C. Bar #1020234
                                                 Assistant United States Attorney
                                                 601 D Street, NW
                                                 Washington, DC 20530
                                                 (202) 252-2551

                                           Attorneys for the United States of America
